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                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

IN RE:

CRAIG WAYNE BURGAN, SR. AND                                 CASE NO: 18-56996-bem
KIMBERLY VINCENT BURGAN,
     Debtors                                                       CHAPTER 7


FEDERAL NATIONAL MORTGAGE
ASSOCIATION,
     Movant

v.

CRAIG WAYNE BURGAN, SR. AND                                  CONTESTED MATTER
KIMBERLY VINCENT BURGAN,
     Debtors

MARTHA A. MILLER,
    Trustee

         Respondents

                        NOTICE OF ASSIGNMENT OF HEARING

        NOTICE IS HEREBY GIVEN THAT a Motion for Relief from the Automatic Stay
 has been filed in the above-styled case. In the event a hearing cannot be held within thirty (30)
 days from the filing of the motion for relief from the automatic stay as required by 11
 U.S.C. § 362, Movant waives this requirement and agrees to the next earliest possible date, as
 evidenced by signature below. The undersigned consents to the automatic stay (and any related
 co-debtor stay) remaining in effect with respect to Movant until the court orders otherwise.

        HEARING will be held at 9:30 AM on June 20, 2018, in Courtroom 1402 at the
 United States Bankruptcy Court, 75 Ted Turner Drive South West, Atlanta, GA 30303.

         Your rights may be affected by the Court’s ruling on these pleadings. You should read
 these papers carefully and discuss them with your attorney, if you have one in this bankruptcy
 case. (If you do not have an attorney, you may wish to consult one.) If you do not want the
 court to grant the relief sought in these pleadings, or if you want the Court to consider your
 views, then you and/or your attorney must attend the hearing. You may also file a written
 response to the pleading with the Clerk at the address stated below, b u t you are not required to
 do so. If you file a written response, you must attach a certificate stating when, how and to
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 whom (including addresses) you served the response. Mail/deliver your response so it is received
 by the Clerk at least two (2) business days before the hearing. The address of the Clerk’s office:
 Clerk, United States Bankruptcy Court, 75 Ted Turner Drive South West, Atlanta, GA
 30303. You must also mail a copy to the undersigned at the address below. In the event a
 hearing cannot be held within thirty (30) days from the filing of the motion for relief from the
 automatic stay as required by 11 U.S.C. § 362, Movant waives this requirement and agrees to the
 next earliest possible date, as evidenced by signature below. The undersigned consents to the
 automatic stay (and any related co-debtor stay) remaining in effect with respect to Movant until
 the court orders otherwise.


                                             /s/ Mallory Velten
                                             Mallory Velten (GA Bar No. 726971)
                                             Attorney for Movant
                                             Brock & Scott, PLLC
                                             4360 Chamblee Dunwoody Rd. Suite 310
                                             Atlanta, GA 30341
                                             Phone: 404-789-2661
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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:

CRAIG WAYNE BURGAN, SR. AND                                   CASE NO: 18-56996-bem
KIMBERLY VINCENT BURGAN,
     Debtors                                                         CHAPTER 7


FEDERAL NATIONAL MORTGAGE
ASSOCIATION,
     Movant

v.

CRAIG WAYNE BURGAN, SR. AND                                    CONTESTED MATTER
KIMBERLY VINCENT BURGAN,
     Debtors

MARTHA A. MILLER,
    Trustee

         Respondents

                    MOTION FOR RELIEF FROM AUTOMATIC STAY

         COMES NOW Federal National Mortgage Association (hereinafter “Movant”), a secured
creditor in the above-captioned case, by and through counsel, Brock & Scott, PLLC, and moves this
Court to enter an order granting its request for relief from the automatic stay imposed by 11 U.S.C.
§ 362(a):


         1.    On April 26, 2018, the Debtors, Craig Wayne Burgan, Sr. and Kimberly Vincent
Burgan, filed a petition with the Bankruptcy Court for the Northern District of Georgia under
Chapter 7 of Title 11 of the United States Code.


         2.    The Debtors hold title to the real property (hereinafter “Collateral”) described in that
Deed of Trust recorded in the Northampton County Register of Deeds in Book 00982 at Page 0914-
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0928 and recorded on September 3, 2013 (hereinafter “Deed of Trust”) with an address of 404
Collier St, Garysburg, North Carolina 27831. A copy of the Deed of Trust is attached hereto and is
incorporated herein as Exhibit A.


       3.      Movant holds a Promissory Note secured by the Deed of Trust from the Debtors in
the original principal amount of $45,290.00 and dated August 28, 2013 (hereinafter “Note”). A copy
of the Note is attached hereto and incorporated herein as Exhibit B.


       4.      The Debtors have scheduled the value of the Collateral at $36,000.00.


       5.      Upon information and belief, the approximate payoff, exclusive of legal fees and
expenses incurred in connection with the instant motion, due and owing to Movant as of April 30,
2018 is $48,706.49.


       6.      As a result of the averments in paragraphs 4 and 5, no equity exists in the subject
property.


       7.      The Debtors have defaulted in the mortgage payments. Upon information and belief,
the amount of default, exclusive of fees and costs, is as follows:

                5      payments @      $           351.41 $          1,757.05
                       (6/17 - 10/17)
                7      payments @      $           350.86 $          2,456.02
                       (11/17 - 5/18)                     $            244.83
                       Less Suspense
                       Total Delinquency                     $       3,968.24

       8.      Cause exists for relief from the automatic stay. Direct mortgage payments are not
being made to Movant. As such, Movant’s interests are not adequately protected.


       WHEREFORE, Movant prays the Court as follows:
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        1.      Modify the Automatic Stay of 11 U.S.C. § 362(a) to permit Movant to enforce its
security interest in the Collateral including but not limited to any non-bankruptcy remedies to
foreclose and obtain possession.


        2.      Modify Rule 4001(a)(3) of the Bankruptcy Code so that it is not applicable in this
case and so Movant may immediately enforce and implement this order granting relief from the
automatic stay.


        3.      As an alternative to the relief prayed for above, grant adequate protection to Movant
for its interest in the Collateral.


        4.      Movant specifically requests permission to communicate with the Debtors and
Debtors’ counsel to the extent necessary to comply with applicable non-bankruptcy law; and


        5.      Grant Movant such other and further relief as the Court deems just and proper.



This 30th day of May, 2018.


                                             /s/ Mallory Velten
                                             Mallory Velten (GA Bar No. 726971)
                                             Attorney for Movant
                                             Brock & Scott, PLLC
                                             4360 Chamblee Dunwoody Rd. Suite 310
                                             Atlanta, GA 30341
                                             Phone: 404-789-2661
                                             Fax: 404-294-0919
                                             gabkr@brockandscott.com
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                               CERTIFICATE OF SERVICE

        I, Mallory Velten, Attorney at Law, certify that I am, and at all times hereinafter mentioned
was, more than 18 years of age; that on the 30th day of May, 2018, I served on the persons
listed below a copy of the within MOTION FOR RELIEF FROM STAY AND NOTICE
OF ASSIGNMENT OF HEARING by electronic service or by regular mail, with appropriate
postageaffixed, at:

Craig Wayne Burgan, Sr.
7131 Crestview Drive
Covington, GA 30014

Kimberly Vincent Burgan
7131 Crestview Drive
Covington, GA 30014

Susan S. Blum
1854 Independence Square
Atlanta, GA 30338

Martha A. Miller
P. O. Box 5630
Atlanta, GA 31107

Office of the United States Trustee
362 Richard Russell Building
75 Ted Turner Drive, SW
Atlanta, GA 30303


This 30th day of May, 2018.
                                              Brock and Scott, PLLC

                                              /s/ Mallory Velten
                                              Mallory Velten (GA Bar No. 726971)
                                              Brock & Scott, PLLC
                                              4360 Chamblee Dunwoody Rd. Suite 310
                                              Atlanta, GA 30341
                                              Ph: 404-789-2661
                                              Fax: 404-294-0919
                                              gabkr@brockandscott.com
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